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                          Exhibit 3
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                                        APPENDIX A
                           JERRY M. DENT II, CRE, FRICS, ASA

                      Mr. Dent is a Managing Director with Alvarez & Marsal in Birmingham,
                      Alabama where he serves as co-head of the firm’s Environmental
                      Advisory Services practice. Mr. Dent was formerly a founding member of
                      Accounting Economics & Appraisal Group. Previously, he served as
                      Director of the Southeastern Real Estate and Environmental Damages
                      practice of PricewaterhouseCoopers LLP. He has over twenty years of
                      experience providing business and financial advice to clients operating in
                      a broad range of industries including, among others: energy, chemical,
                      financial service, real estate, hospitality and utilities. Mr. Dent's
                      experience includes advising clients in connection with environmental
damages to real estate, real estate counseling, economic damages, settlement fund
administration, and demographic and geographic information systems. Representative examples
of Mr. Dent’s engagements include the following:

                             Environmental Damages to Real Estate

•    Issued an expert report in a class action involving alleged property damage as a result of
     groundwater contamination from a manufacturing facility in Pennsylvania.
•    Analyzed the impact of sinkholes on property value allegedly caused by quarry operations on
     surrounding agricultural land.
•    Determined categories of financial impact to commercial properties as a result of air
     emissions associated with a galvanizing facility in North Carolina.
•    Issued an affidavit in a class action matter involving alleged property damage resulting from
     airborne ash materials stored at a paper mill in Florida.
•    Analyzed a claim of property diminution on the value of a landfill in Illinois resulting from
     the dumping of non-permitted materials.
•    Issued an affidavit in opposition to a plaintiff’s attempt to offer lay testimony on property
     value diminution attributed to contamination.
•    Evaluated property damage claims from a hotel operator as a result of alleged offsite
     migration of petroleum products from a convenience store location in Georgia.
•    Coordinated analysis of the impact of leaking underground storage tanks on surrounding
     property values in a national class action.
•    Analyzed alleged property damage to parcels in Alabama and Georgia attributable to air
     emissions from a carbon black manufacturing facility.
•    Researched the diminished value of a manufacturing facility resulting from the previous
     owner’s election not to pay the cost of TCE cleanup as required in an indemnification
     agreement.
•    Issued an affidavit in a class action matter involving alleged property damage as a result of
     air emissions from a private waste water treatment facility in Georgia.
•    Evaluated claims of property value diminution in several residential class actions and
     numerous individual commercial claims brought by property owners surrounding a former
     PCB manufacturing facility.

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•    Coordinated the analysis of an adjoining property owner’s claim of property value
     diminution due to TCE groundwater contamination on an office warehouse.
•    Researched property value diminution claims brought by multiple individuals in regard to an
     alleged construction materials defect.
•    Researched the impact on property value of proposed construction of an above ground
     alternative sewage system on a residential property.
•    Analyzed claim of property damage to a rural residential property resulting from alleged
     increased groundwater runoff due to development of adjacent land.
•    Researched claims of property damage brought by multiple waterfront property owners in a
     matter involving a textile manufacturer’s permitted releases into a stream.
•    Analyzed damage models arising from multiple plaintiffs’ claims of diminution remaining
     after repair of previous termite damages.
•    Issued an affidavit in a class action matter involving alleged property damage as a result of
     air emissions from a pulp and paper mill in Arkansas.
•    Analyzed an opposing expert’s methodology and provided an appropriate methodology to
     determine impact, if any, in a post-repair termite damage matter.
•    Performed an analysis of alleged impact on property value associated with a ruptured sewer
     line underneath a commercial property in Georgia.
•    Issued an expert report and presented findings to a city planning commission illustrating
     residential property trends around existing quarries.
•    Issued an expert report involving a proposed class of over 50,000 residential parcels in a
     matter involving alleged property damage as a result of foundry operations.
•    Analyzed property value trends as a result of a claim of property damage due to alleged odor
     emissions from a poultry processing facility.
•    Researched potential impact to residential property value subsequent to interior cleanup and
     repair of a sewer line rupture.
•    Evaluated claims of property value diminution attributed to air emissions brought by property
     owners surrounding a coke facility.

                                     Real Estate Counseling

•    Currently serve as Administrator for an Institutional Control Program involving nearly 2,200
     parcels. Duties include identifying relevant parcels, calculating payouts, conducting public
     meetings, performing media interviews, negotiating the purchase of environmental
     covenants, recording executed covenants, meeting with regulators, meeting with
     stakeholders, negotiating the purchase of property to be used in remediation actions, and
     other functions.
•    Studied sale price trends of residential properties surrounding existing cemeteries in New
     York as part of a permitting response.
•    Issued a land use study as part of an overall exposure assessment. Analyses included number
     of parcels, approximate size, land use, and presence of crops, wells, irrigation equipment,
     livestock, or produce, and other land attributes.
•    Performed due diligence and made portfolio recommendations on hospitality and residential
     planned community properties owned by a bankrupt investment fund at multiple locations
     throughout the southeast.



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•    Performed a market study of historical property value and lease trends of commercial office
     and research and development space located in a science and technology research park.
•    Researched the market for water accessible industrial properties and provided valuation
     alternatives for a 1,000-acre site located in a heavy industrial park.
•    Analyzed the impact on current and future land use development patterns surrounding a
     proposed intermodal center in Georgia.
•    Assigned risk levels and analyzed potential commercial and residential real estate damage
     exposure for a former refinery site in Ohio utilizing decision analysis techniques.
•    Quantified various dispute resolution alternatives for an adjoining property owner including
     indemnities, value assurance, relocation, and sale leaseback in a matter involving TCE
     groundwater contamination on a commercial property in Tennessee.
•    Evaluated the proposed privatization of a municipal landfill department on behalf of a county
     government.
•    Calculated the economic impact of a proposed impoundment in North Carolina. Analyses
     included construction, surrounding property development and infrastructure development.
•    Analyzed the profile of typical big box retail customers relative to convenience store
     customers and the difference in geographic draw of big box retail sites relative to
     convenience store locations.
•    Coordinated the development of financial models and projections for a startup company
     engaged in the manufacture and development of affordable housing projects in under
     developed countries.
•    Provided valuation consultation on a $300,000,000 portfolio of retail properties located
     throughout several southern states.

                     Value Assurance Programs / Property Purchase Programs

•    Developed and currently administer a Value Assurance Program involving single family and
     multi-family properties on the footprints of two former manufactured gas plant sites in
     California.
•    Developed and currently administer a Value Assurance Program as part of a class action
     settlement involving over 61,000 residential parcels.
•    Led the development of a Temporary Rental Offset Program offered to apartment owners to
     compensate for lost rents as a result of issues related to environmental surveys, testing, and
     remediation, if needed.
•    Directed the real estate research used to establish a Property Purchase Program for residential
     properties surrounding a manufacturing facility.
•    Coordinated the development of a Value Assurance Program for potential use in a residential
     property value diminution dispute involving over 1,000 parcels.
•    Developed a Value Assurance Program for residential and commercial properties on the site
     of a former manufactured gas plant site in Ohio.
•    Assisted in the development of a Value Assurance Program for use in a neighborhood
     surrounding a former manufactured gas plant site in Virginia.
•    Developed and administered a Value Assurance Program for use in a matter involving over
     3,600 residential parcels located around and downstream from a manufacturing facility in
     Alabama.



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•    Currently developing a Value Assurance Program for use in a matter involving several
     hundred property owners located down river from a manufacturing facility in the Midwest.
•    Advised and co-developed a benefits program to property owners surrounding the site of a
     pipeline explosion. Offerings included a Value Assurance Program, Property Purchase
     Program and Neighborhood Restoration Program.

                                     Economic Damages / Lost Profits

•    Calculated damages and rebutted opposing experts on a matter involving lost profits as a
     result of TCE/DCE/PCE contamination.
•    Critiqued damages calculation and performed a market study in connection with a dispute
     over alleged PCB contamination and resulting lost profits in the appliance sales and repair
     industry.
•    Critiqued damages calculation in connection with a dispute over alleged PCB contamination
     and resulting lost profits in the automotive repair industry.
•    Analyzed the damages claim to a shopping center resulting from the closure and relocation of
     a big box retailer.
•    Consulted on claims of lost profits allegedly resulting from offsite migration of petroleum
     products brought by a hotel operator against a convenience store chain.
•    Evaluated lost profits of a hotel associated with fire damage repair delays.
•    Critiqued a financial model involving damages to a mixed use development allegedly
     resulting from an inaccurate calculation of wetlands acreage.

                                  Settlement Fund Administration

•    Appointed Settlement Administrator in a class action settlement involving over 61,000
     residential parcels.
•    Served as Settlement Administrator in a class action settlement involving over 3,600
     residential parcels.
•    Court appointed Co-Escrow Agent of a 501c (3) corporation established to oversee
     disbursement of funds remaining subsequent to payment of expenses and qualified claims in
     a real estate class action settlement.
•    Served as Settlement Administrator in a class action settlement involving over 1,500
     residential parcels in a matter involving TCE contamination. Identified all parcels included
     in the class, attended community outreach group meetings, performed numerous print and
     television media interviews, maintained toll free phone lines, issued settlement checks and
     maintained appropriate financial records.
•    Appointed as Settlement Administrator in a matter involving a class action property damage
     claim resulting from a Dursban spill into various surrounding waterways.
•    Served as Settlement Fund Administrator in a class action matter involving alleged releases
     into waterways from a steel manufacturing facility.

              Demographic and Geographic Information Systems (“GIS”) / Databases

•    Performed a demographic analysis of grocery store sites as part of a deepening insolvency
     analysis in a matter against the former Board and management of a now-defunct chain.

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•    Coordinated the GIS team in a residential toxic tort matter. Mapping overlays included: EPA
     testing areas, plaintiff properties, soil test results, and identification of properties that would
     likely require remediation under known EPA standards.
•    Coordinated the GIS efforts in a residential toxic tort matter involving over 1,500 properties.
     Mapping overlays included: Bureau of Labor Statistics demographic data, police and fire
     districts, school zones and other disamenities located within the area.
•    Issued an affidavit illustrating the locations of plaintiff properties spread across two judicial
     jurisdictions.
•    Issued an affidavit illustrating proposed plaintiff properties were located within the
     boundaries of a prior class action settlement.
•    Coordinated the development of a web-based GIS site for use in a class action toxic tort
     matter.
•    Assisted in the development of a demographic database for use in the analysis of several
     thousand properties. Data included school zone, land use, zoning, assessed values,
     improvement types, income, population, and other variables.
•    Developed a database to analyze property use, property value, township, school zone,
     improvement size, improvement value, and other demographic variables.
•    Developed and maintain a GIS database for use in the purchase of approximately 700 deed
     restrictions. Data assembled includes owner information, property-specific information, and
     demographic data from public and private sources.
•    Assembled data and constructed a database for use in a retail dispute. Data included traffic
     count, population, housing stock, land use, competitors, etc.
•    Developed a GIS system to analyze key demographic factors related to the proposed
     relocation of a regional hospital. Data analyzed included: population, age, income,
     household size, employment, traffic count, adjacent land uses, access to major transportation
     arteries, proximity to retail districts, etc.

                                 Professional / Business Affiliations

•    American Bar Association
           o Associate Member
           o Co-Chair, Damages Subcommittee of the Section of Litigation Environmental
              Committee
           o Program Co-Chair, “Real Estate Damages: Environmental Conditions, Systems &
              Strategy”, Regional Continuing Legal Education Workshop, Costa Mesa, CA,
              November 18, 2010.
•    Appraisal Institute, Associate Member

•    American Society of Appraisers
           o Designated ASA
           o Board of Directors, Alabama-Mississippi Chapter
           o Treasurer, Alabama-Mississippi Chapter
           o Vice President, Alabama-Mississippi Chapter

•    Counselors of Real Estate
           o Designated CRE

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            o National Membership Development Committee
            o Rice University / Counselors of Real Estate – MBA Mentor
            o New Member Ambassador

•    National Association of Realtors, Affiliate Member
            o Alabama Association of Realtors
            o Birmingham Association of Realtors

•    Royal Institution of Chartered Surveyors, Designated FRICS

                                    Community Involvement

•    Birmingham Business Journal, Top 40 Under Forty

•    City of Vestavia Hills, Financial Advisory Committee

•    Kiwanis Club of Birmingham
           o Birmingham Business Hall of Fame Committee
           o Membership Committee
           o Reading is Fundamental Program – Calloway Head Start Center

•    Kiwanis Club of Metropolitan Birmingham
           o Board of Directors
           o Programs Chair

•    Liberating Technologies, Advisory Board

•    National Multiple Sclerosis Society, Alabama Chapter
            o MS Leadership Class
            o MS Leadership Class Advisory Council

•    Salvation Army, Youth Services Council

•    United Way, Visiting Allocation Team

•    University of Mississippi, School of Business
            o MBA Case Study Competition Judge
            o Speaker’s Edge Competition Judge
            o MBA Program Mentor
            o MBA Alumni Board of Directors
                     Chair, By-Laws Revision Committee
                     Chair, Membership Committee

•    Vestavia Hills Board of Education
            o Vice President
            o Board Member
            o Policy Committee

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            o Financial Advisory Committee
            o Vestavia Hills City Schools Foundation Liaison

                                         Publications

•    “Value Assurance Programs: A Case Study in the Model City” with Christina M. McLean,
     Reprinted from the American Bar Association Tort Trial & Insurance Practice Section Spring
     CLE and Leadership Forum Course Materials, May 2011 to American Bar Association Tort
     Trial & Insurance Practice 21st Annual Spring CLE Meeting Course Materials, March 2012.
•    “Value Assurance Programs: A Case Study in the Model City” with Christina M. McLean,
     Reprinted from the American Bar Association Tort Trial & Insurance Practice Section Spring
     CLE and Leadership Forum Course Materials, May 2011 to The Environmental Litigator,
     Summer 2011.
•    “Value Assurance Programs: A Case Study in the Model City” with Christina M. McLean,
     American Bar Association Tort Trial & Insurance Practice Section Spring CLE and
     Leadership Forum Course Materials, May 2011.
•    “Value Assurance Programs: An Alternative Response to Property Value Disputes” with
     Christina M. McLean, Reprinted from The Environmental Litigator, Spring 2009 to
     American Bar Association Regional Continuing Legal Education Workshop Course
     Materials, November 18, 2010.
•     “Responding to Property Damage Claims: A Case Study Review of the McWane, Inc. Value
     Assurance Program” with Christina M. McLean and E. Bryan Nichols, Defense Research
     Institute – Toxic Torts and Environmental Law Course Materials, March 2010.
•    “Worth More, Worth Less or Worthless: Assessing the Impact of Contamination on
     Residential Property Value” with Christina M. McLean, The Environmental Litigator, Fall
     2009.
•    “Value Assurance Programs: An Alternative Response to Property Value Disputes” with
     Christina M. McLean, The Environmental Litigator, Spring 2009.
•    “Managing and Coordinating Information for Litigation in Multiple Jurisdictions” with
     William J. Long, Commercial and Business Litigation, Fall 2005.
•    “Issues in the Appraisal of Contaminated Property”, Alabama Appraiser, August /
     September 1999.

                                    Speaking Engagements

•    “Creative Paths to the Settlement of Complex Environmental Litigation” with James M.
     Proctor II, Marcy Hogan Greer, Sheri L. Moreno, Christopher J. Williams, and Lowell M.
     Rothschild, American Bar Association Tort Trial & Insurance Practice 21st Annual Spring
     CLE Meeting, Phoenix, AZ, March 30, 2012.
•    “Creative Paths to the Settlement of Complex Environmental Litigation” with James M.
     Proctor II, Marcy Hogan Greer, W. Warren Hamel, Sheri L. Moreno, and Deborah M.
     Reyher, American Bar Association Tort Trial & Insurance Practice Section Spring CLE and

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     Leadership Forum, Jacksonville, FL, May 19, 2011.
•    “Real Estate Damages: Environmental Conditions, Systems & Strategy”, Program Co-Chair,
     Presentation entitled “Value Assurance Programs: Proactively Addressing Property Damage
     Claims”, American Bar Association Regional Continuing Legal Education Workshop, Costa
     Mesa, CA, November 18, 2010.
•    “Show Me the Money: Using Value Assurance Programs to Compensate Real Property
     Owners That Are Truly Damaged”, Defense Research Institute – Toxic Torts and
     Environmental Law Seminar, New Orleans, LA, March 18, 2010.
•    “Environmental Covenants: A Case Study” with Ashley C. Cousins, 2009 Alabama
     Department of Environmental Management Groundwater Conference, Montgomery, AL,
     June 10, 2009.
•    “Value Assurance Programs: Addressing Environmental Property Value Issues and
     Remedies” with Charles E. Finch, William A. Ruskin, Trevor E. Phillips, and Daniella D.
     Landers, Epstein Becker & Green / Alvarez & Marsal Continuing Legal Education Seminar,
     Houston, TX, June 18, 2008.
•    “Uniform Environmental Covenants Act and Implementation” with E. Bryan Nichols and
     Ashley C. Cousins, Alabama State Bar – Environmental Section, Destin, FL, June 13, 2008.
•    “Environmental Covenants and the Coliseum Boulevard Plume” with Floyd R. Gilliland, Jr.
     and Ashley C. Cousins, Alabama Real Estate Appraisers Board – Continuing Education,
     Montgomery, AL, August 24, 2007.
•    “Environmental Covenants and the Coliseum Boulevard Plume” with Floyd R. Gilliland, Jr.
     and Ashley C. Cousins, Alabama Bar Association – Continuing Legal Education,
     Montgomery, AL, August 22, 2007 and September 6, 2007.
•    “Brownfields and Institutional Control Programs” with Bernard E. Cox, Jr., Ashley C.
     Cousins, and Andrew C. Eversull, Business Council of Alabama – Energy and Environment
     Conference, Perdido Beach, AL, June 11, 2007.
•    “Crisis Management: The First Reaction”, Presentation entitled “Value Assurance Programs
     – An Overview of Alternatives” with Ashley C. Cousins, Darlene Rotch, and Willard
     Bowers, Alabama State Bar – Environmental Section, Perdido Beach, AL, June 24, 2005.
•    “Environmental Damages and Property Value”, Guest Lecturer, Birmingham-Southern-
     College Department of Business and Accounting, Birmingham, AL, January 7, 2003.
•    “Demonstration of Expert Deposition” with Joseph B. Mays, Jr., and Artur Davis, Alabama
     Bar Institute for Continuing Legal Education 2001 Depositions Seminar, Montgomery, AL,
     December 19, 2001.
•    “Due Diligence: Evaluating the Impacts of the Problems and Solutions”, AIG Environmental
     Forum, Atlanta, GA, October 2000.
•    “Everything You Ever Wanted to Know About Damages But Were Afraid to Ask – Business
     Damages After Kumho Tire” with James A. Chalmers, Theodore R. Hawkins, Jr., Roy C.
     Cheatwood, Dennis M. Campbell, Nancy Scott Degan, and Hon. Denny Chin, American Bar
     Association Annual Meeting, New York, NY, July 10, 2000.

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•    “Valuing a Closely-Held Business”, Office for the Advancement of Developing Industries,
     University of Alabama at Birmingham, Birmingham, AL, September 25, 1996.

                                  Education and Designations

•    Bachelor of Science
     Major: Corporate Finance
     University of Alabama

•    Master of Business Administration
     Concentration: Finance
     University of Mississippi

•    Designated CRE
     Counselors of Real Estate

•    Designated FRICS
     Royal Institution of Chartered Surveyors

•    Designated ASA
     American Society of Appraisers




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